USCA11 Case: 23-12313   Document: 46    Date Filed: 09/12/2023   Page: 1 of 20



                     Nos. 23-12308 & 23-12313
                 ________________________________
        IN THE UNITED STATES COURT OF APPEALS
               FOR THE ELEVENTH CIRCUIT
               ________________________________
  FLORIDA STATE CONFERENCE OF BRANCHES AND YOUTH
               UNITS OF THE NAACP, et al.
                             Plaintiffs-Appellees,
                                   v.
                        CORD BYRD, et al.,
                                    Defendants-Appellants.
                 ________________________________
                  HISPANIC FEDERATION, et al.
                                    Plaintiff-Appellee,
                                   v.
              CORD BYRD, in his official capacity as
             FLORIDA SECRETARY OF STATE, et al.,
                                   Defendants-Appellants.
                ________________________________
          On Appeal from the United States District Court
               for the Northern District of Florida
                  No. 4:23-cv-215 (Walker, C.J.)
                ________________________________
REPLY IN SUPPORT OF MOTION TO INTERVENE ON APPEAL
      BY LEAGUE OF WOMEN VOTERS OF FLORIDA
             ________________________________
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USCA11 Case: 23-12313   Document: 46   Date Filed: 09/12/2023   Page: 2 of 20



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 USCA11 Case: 23-12313   Document: 46   Date Filed: 09/12/2023   Page: 3 of 20



           CERTIFICATE OF INTERESTED PERSONS

     Pursuant to 11th Circuit Rule 26.1-2 (b), Proposed Intervenors

certify that the Amended Certificate of Interested Persons filed by

Proposed Intervenors on September 5, 2023 and the Certificate of

Interested Persons included in Appellants’ response brief filed on

September 5, 2023 are complete.

                                                        /s/ Brent Ferguson
                                                           Brent Ferguson

                                        Counsel for Proposed Intervenors




                                    i
USCA11 Case: 23-12313             Document: 46           Date Filed: 09/12/2023           Page: 4 of 20



                                TABLE OF CONTENTS

CERTIFICATE OF INTERESTED PERSONS ............................... i
TABLE OF AUTHORITIES .......................................................... iii
INTRODUCTION ............................................................................ 1
    I.    Appellants are incorrect that the League should have
          appealed instead of moving to intervene ............................ 2
            A. Appealing the denial of its preliminary injunction
                  motion would not have allowed the League to
                  defend the injunction granted to other plaintiffs...... 2
            B. Appellants’ proposed solution ignores basic
                  considerations about the appropriateness of an
                  appeal .......................................................................... 5
  II.     Appellants make no attempt to establish that
          the League has failed to meet the requirements
          of Fed. R. Civ. P. 24 ............................................................. 7
CONCLUSION............................................................................... 11
CERTIFICATE OF COMPLIANCE .............................................. 13
CERTIFICATE OF SERVICE ....................................................... 14




                                                   ii
 USCA11 Case: 23-12313              Document: 46         Date Filed: 09/12/2023         Page: 5 of 20



                               TABLE OF AUTHORITIES

Cases                                                                                  Page
Cameron v. EMW Women’s Surgical Center,
  142 S. Ct. 1002 (2022) ........................................................... 7, 8, 9
Commissioner, Alabama Department of Corrections v. Advance
  Local Media, LLC, 918 F.3d 1161
  (11th Cir. 2019) ............................................................................. 9
Covenant Christian Ministries, Inc. v. City of Marietta, Georgia,
  654 F.3d 1231 (11th Cir. 2011) ..................................................... 3
Elliott Industries Limited Partnership v. BP America
   Production Company, 407 F.3d 1091 (10th Cir. 2005) ................ 9
EMW Women’s Surgical Center, P.S.C. v. Friedlander,
  831 F. App’x 748 (6th Cir. 2020) .................................................. 8
Hall v. Hall, 138 S. Ct. 1118 (2018) .............................................. 4, 5
Hall v. Holder, 117 F.3d 1222 (11th Cir. 1997) .......................... 9, 11
International Union, United Automobile, Aerospace and
   Agriculture Implement Workers of America, AFL-CIO, Local
   283 v. Scofield, 382 U.S. 205 (1965) ............................................. 8
Legal Environmental Assistance Foundation, Inc. v. United
  States Environmental Protection Agency, 400 F.3d 1278
  (11th Cir. 2005) ............................................................................. 4
Raspanti v. Caldera, 34 F. App’x 151 (5th Cir. 2002) ...................... 9
Schindler v. Deal, No. 1:10-CV-4012-WSD,
  2012 WL 1110082 (N.D. Ga. Mar. 30, 2012) ................................ 3
Shepard v. Madigan, 734 F.3d 748 (7th Cir. 2013) ......................... 3
Symonette v. United States, No. 21-10287-A,
  2021 WL 3186792 (11th Cir. Apr. 30, 2021) ................................ 4
Washington Metropolitan Area Transit Commission v. Reliable
  Limousine Service, LLC, 776 F.3d 1
  (D.C. Cir. 2015) ............................................................................. 5
Worldwide Primates, Inc. v. McGreal, 87 F.3d 1252
  (11th Cir. 1996) ............................................................................. 6

                                                   iii
 USCA11 Case: 23-12313             Document: 46        Date Filed: 09/12/2023         Page: 6 of 20



Other Authorities
Fed. R. Civ. P. 24(a)(2) .................................................................... 10




                                                  iv
 USCA11 Case: 23-12313    Document: 46   Date Filed: 09/12/2023   Page: 7 of 20



                            INTRODUCTION

     Appellants’ response provides no valid reason for this Court to deny

the League’s motion to intervene. Appellants argue only that the League

should have filed its own appeal rather than moving to intervene in this

case. But filing an appeal would not have helped the League achieve the

goal of its intervention motion, which is to defend the merits of the

injunction granted in the Hispanic Federation and NAACP cases. And in

fact, it would have required the League to manufacture a spurious

argument that the district court’s mootness ruling was incorrect.

     While appellants contend that it would be “irregular” to even

address whether the League has met the requirements of Federal Rule

of Civil Procedure 24, they fail to confront the atypical nature of this case

or cite any case presenting a similar situation. And it is unsurprising that

appellants have no answer for whether Rule 24’s requirements have been

met. The League’s motion clearly establishes that the motion was timely,

intervention would not prejudice any party, and the League will be

prejudiced if it is unable to intervene to defend the injunction that was

granted. Thus, this Court should grant the motion to intervene.




                                     1
    USCA11 Case: 23-12313   Document: 46   Date Filed: 09/12/2023   Page: 8 of 20



I. Appellants are incorrect that the League should have appealed
instead of moving to intervene

        A. Appealing the denial of its preliminary injunction motion would
        not have allowed the League to defend the injunction granted to
        other plaintiffs

        Appellants’ response boils down to one argument: the League

should have appealed the denial of its preliminary injunction motion,

then moved to consolidate its appeal with this case. See Resp. Br., Doc.

42 at 4. But their failure to elaborate is telling — filing that appeal and

moving for consolidation would not have put the League in a position to

defend the injunction that was granted.

        The League moved to preliminarily enjoin four separate provisions

of SB 7050. Its motion was denied as moot as to the two statutory

provisions at issue on this appeal, since those two provisions had been

enjoined a week earlier in the Hispanic Federation and NAACP cases. 1

Appellants maintain that the League could have appealed that denial

and thereby achieved the stated goal of its intervention motion —


1 Regarding the remaining two challenged provisions — the Felony
Volunteer Restriction and the Receipt Requirement — the district court
denied the League’s motion on standing grounds. An appeal of the denial
on those two claims would have had nothing to do with the injunction
that was granted as to the Non-U.S. Citizen Volunteer Restriction and
the Voter Information Restriction.
                                       2
 USCA11 Case: 23-12313   Document: 46   Date Filed: 09/12/2023   Page: 9 of 20



defending the injunction that was granted — but that argument fails to

consider how an appeal from the League would have actually proceeded.

     Had the League appealed, its argument would have necessarily

focused on whether the district court’s mootness holding was incorrect.

Litigation on that issue would be unrelated to the merits of the injunction

that was granted. And while the League’s brief could have proceeded

beyond mootness to explain why its injunction motion should have been

granted, that strategy would have accomplished little. Most apparent,

the district court’s mootness decision was well-founded, and this Court

likely would have simply affirmed that decision without reaching any

other issues that were briefed. See, e.g., Covenant Christian Ministries,

Inc. v. City of Marietta, Georgia, 654 F.3d 1231, 1239 (11th Cir. 2011)

(holding that challenge to law becomes moot if law is repealed); Schindler

v. Deal, No. 1:10-CV-4012-WSD, 2012 WL 1110082, at *3 (N.D. Ga. Mar.

30, 2012) (“Plaintiffs’ case is thus moot, because the Statute has been

declared unconstitutional, there is no possibility that it will be enforced

against Plaintiffs, and there is no additional relief that this Court can

provide.”); see also Shepard v. Madigan, 734 F.3d 748, 750 (7th Cir. 2013)




                                    3
USCA11 Case: 23-12313    Document: 46    Date Filed: 09/12/2023   Page: 10 of 20



(“A case challenging a statute’s validity normally becomes moot if the

statute is repealed or invalidated.”).

     Contrary to appellants’ assertion, Resp. Br., Doc. 42 at 4, a motion

to consolidate the appeals would not have solved the problem. Of course,

consolidation would not have been guaranteed — this Court has broad

discretion on whether to consolidate cases, 2 and it may have declined to

do so because the principal issue to be litigated on the League’s appeal

(mootness) would have differed from the merits issues in the two

companion appeals.

     Even if the appeals were consolidated, that would not have put the

League in a position to fully address the issues being litigated in the

Hispanic Federation and NAACP appeals. As the Supreme Court has

explained, “actions do not lose their separate identity because of

consolidation.” Hall v. Hall, 138 S. Ct. 1118, 1130 (2018) (quotation

marks omitted). In Hall, the Court approvingly discussed a prior holding

“that a party appealing from the judgment in one of two cases


2 See Symonette v. United States, No. 21-10287-A, 2021 WL 3186792, at

*2 (11th Cir. Apr. 30, 2021) (noting Court’s discretion to consolidate
appeals); Legal Env’t Assistance Found., Inc. v. U.S. E.P.A., 400 F.3d
1278, 1279 (11th Cir. 2005) (consolidating appeals that were “factually
similar and procedurally identical”).
                                     4
USCA11 Case: 23-12313    Document: 46    Date Filed: 09/12/2023   Page: 11 of 20



consolidated for trial could not also raise claims with respect to the other

case.” Id. at 1126 (citing Stone v. United States, 167 U.S. 178, 189 (1897));

see also Washington Metro. Area Transit Comm’n v. Reliable Limousine

Serv., LLC, 776 F.3d 1, 4 (D.C. Cir. 2015) (“Although [defendant’s]

appeals are consolidated, we analyze them separately.”) (citing Fed. R.

App. P. 3(b) advisory committee’s note (1998) (“consolidated appeals . . .

do not merge into one”)). Thus, a consolidation order would not have

transformed the League into a party that could properly act as an

appellee in the same posture as the Hispanic Federation and NAACP

appellees. 3

      B. Appellants’ proposed solution ignores basic considerations about
      the appropriateness of an appeal

      Aside from whether filing an appeal would have accomplished the

League’s goal, appellants fail to acknowledge that it would have involved

taking a disingenuous position: appellants’ approach would require the

League to appeal from a ruling in its own case not because of a genuine



3 The proceedings below in this very case demonstrate that consolidation

does not completely merge two cases or guarantee joint treatment.
Though the district court consolidated the three cases discussed herein
for purposes of the preliminary injunction motion, it issued separate
opinions and different holdings on challenges to the same statutory
provisions. See Intervention Mtn., Doc. 30-1 at 3-4.
                                     5
USCA11 Case: 23-12313    Document: 46    Date Filed: 09/12/2023   Page: 12 of 20



belief that the ruling was incorrect, but to achieve the separate end of

securing the right to play a role in related cases. In doing so, the League

would have needed to manufacture an argument disputing the district

court’s conclusion on mootness regardless of whether it genuinely

disputed that ruling. Filing an appeal for that improper purpose would

border on bad faith conduct. See Worldwide Primates, Inc. v. McGreal, 87

F.3d 1252, 1254 (11th Cir. 1996). Therefore, even if it were practicable to

take that route, its availability should not serve as a reason to deny the

League’s motion to intervene.

     Similarly, appellants’ proposal ignores the question of whether the

League wanted to appeal the denial of its preliminary injunction motion.

Of course, any party whose motion is denied at the district court level has

the right to weigh strategic and other considerations before deciding

whether to appeal that denial. Here, the League chose not to appeal. That

choice carries weight, and appellants have pointed to no support for the

idea that the potential legal availability of an appeal should override it.

                                *    *      *

     Thus, appellants have it exactly backwards when they assert that

the League’s intervention motion was “the most circuitous route


                                     6
USCA11 Case: 23-12313    Document: 46   Date Filed: 09/12/2023   Page: 13 of 20



possible.” Resp. Br., Doc. 42 at 1. An appeal would have required the

League — and appellants — to litigate additional issues that are

peripheral to the merits of the injunction at issue in this case. By

contrast, the League’s intervention would allow all parties to focus on the

contested issues and would be the most direct way to allow the League to

pursue its core interest of ensuring that the injunction at issue in this

appeal stays in place.

II. Appellants make no attempt to establish that the League has
failed to meet the requirements of Fed. R. Civ. P. 24

     Rule 24’s requirements for both intervention as of right and

permissive intervention are unmistakably satisfied here. While

appellants contend that only permissive intervention is possible on

appeal, nowhere do they argue that the League has failed to meet the

requirements of Rule 24 — either for intervention as of right or for

permissive intervention.

     Initially, even if appellants were able to show that an appeal was

appropriate and would have accomplished the League’s goal, it would not

establish that intervention would be unavailable or that this Court

should completely ignore Rule 24’s considerations. Appellants have cited

no support for that theory, and the Supreme Court in Cameron v. EMW

                                    7
USCA11 Case: 23-12313    Document: 46    Date Filed: 09/12/2023   Page: 14 of 20



Women’s Surgical Center rejected an analogous argument. See 142 S. Ct.

1002, 1009 (2022) (rejecting assertion that intervention motion must be

denied because movant “could have filed notice of appeal”).

     Appellants also maintain that Fed. R. Civ. P. 24(a) does not apply

because “this kind of attempted appellate intervention is permissive.” See

Resp. Br., Doc. 42 at 1. Yet that position contradicts the Supreme Court’s

most direct statement on the question. See Int’l Union v. Scofield, 382

U.S. 205, 217 n. 10 (1965) (explaining that “policies underlying [Rule 24]

intervention may be applicable in appellate courts” and concluding that

a “charged party would be entitled to intervene” under Rule 24(a)(2)).

     No subsequent case law supports appellants’ position that

intervention as of right is unavailable. In Cameron, for example, the

proposed intervenors moved for both permissive intervention and

intervention as of right, 4 and the Court referred repeatedly to Rule 24(a)

while declining to adopt a general rule on appellate intervention as of

right. 142 S. Ct. at 1010-11 (“[W]e do not attempt to set out a general rule

governing the right of non-parties to appeal or to move for appellate


4 See EMW Women’s Surgical Ctr., P.S.C. v. Friedlander, 831 F. App’x

748, 749 (6th Cir. 2020) (“[T]he Attorney General moved to intervene as
of right or, in the alternative, permissively. . . .”).
                                     8
USCA11 Case: 23-12313    Document: 46     Date Filed: 09/12/2023   Page: 15 of 20



intervention”). And in Hall v. Holder, this Court did not address whether

the proposed intervenors had even moved to intervene as of right. 117

F.3d 1222, 1231 (11th Cir. 1997). Further, various courts of appeals have

granted motions to intervene on appeal as of right or recognized that the

right exists. See, e.g., Elliott Indus. Ltd. P’ship v. BP Am. Prod. Co., 407

F.3d 1091, 1102-03 (10th Cir. 2005); Raspanti v. Caldera, 34 F. App’x

151, *1 (5th Cir. 2002) (“For intervention on appeal: A party is entitled to

an intervention of right if . . . .”) (quotation marks and citation omitted).

     Rule 24’s requirements for intervention as of right are satisfied

here. First, the League’s motion is timely. See Intervention Mtn., Doc. 30-

1 at 9-13. Appellants do not claim otherwise or argue that any existing

party will be harmed or prejudiced by the League’s intervention. And

they would be unable to do so, primarily because intervention will create

no delay, since the League will file its appellate brief on the existing

schedule. See, e.g., Comm’r, Alabama Dep’t of Corr. v. Advance Loc.

Media, LLC, 918 F.3d 1161, 1171 (11th Cir. 2019). By contrast, the

League will suffer significant prejudice if it is precluded from protecting

its interests on this appeal.




                                      9
USCA11 Case: 23-12313     Document: 46    Date Filed: 09/12/2023   Page: 16 of 20



      Second, the League meets the remaining requirements for

intervention as of right in Fed. R. Civ. P. 24(a)(2) — (1) the League has a

direct and vital interest in this case: its preliminary injunction motion

challenged the two provisions that are at issue in this appeal; (2) the

League’s ability to protect that interest hinges solely on whether it can

participate in this appeal — if the district court’s decision is reversed, the

League will have effectively lost its preliminary injunction motion

without a decision on the merits; and (3) the existing parties do not

adequately represent the League’s interests, which are distinct from

those of the Hispanic Federation and NAACP plaintiffs. Again,

appellants have made no claim to the contrary.

      For the same reasons, permissive intervention is appropriate.

Though appellants concede that permissive intervention on appeal is

available in some cases, they argue that “[i]t would be truly irregular

even to discuss Rule 24’s merits factors here.” Resp. Br., Doc. 42 at 4. But

the irregularity in this case stems from its atypical procedural posture,

not from the League’s motion to intervene. Indeed, appellants fail to point




                                     10
USCA11 Case: 23-12313    Document: 46    Date Filed: 09/12/2023   Page: 17 of 20



to a single case analogous to this one, 5 instead returning to their simple

refrain that an appeal would have been appropriate. Because an appeal

would not have accomplished the League’s goals, see Part I., supra, and

Rule 24’s considerations weigh heavily in the League’s favor, permissive

intervention should be granted here.

                             CONCLUSION

     Because appellants have failed to muster any persuasive reason

that the League should not participate in this appeal, this Court should

grant the motion to intervene. In the alternative, the Court should grant

the League permission to file a brief amicus curiae and participate in oral

argument as amicus.


5 Appellants’ claim that Hall, 117 F.3d at 1230, contained “the same fact

pattern as relevant to this case” is utterly wrong, and appears to rely on
the fact that the word “moot” is mentioned in both cases. Resp. Br., Doc.
42 at 3. In Hall, voters asked to intervene in a case to request that this
Court dissolve an injunction and order special elections. The Court
rejected the motion because (1) a Supreme Court order had already
effectively “moot[ed] the injunction,” meaning that dissolution was
unnecessary, and (2) the motion asked the Court to address an entirely
new issue (ordering a special election), which would require it to intrude
on state functions without proper factual development. 117 F.3d at 1231.
This case is markedly different — no injunction has been “mooted” or
already resolved by this Court. Instead, the League’s motion was mooted,
and the injunction at issue is being actively litigated before this Court.
Further, intervention would not require this Court to address an entirely
new issue.
                                    11
USCA11 Case: 23-12313   Document: 46    Date Filed: 09/12/2023   Page: 18 of 20



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                                   12
USCA11 Case: 23-12313    Document: 46    Date Filed: 09/12/2023   Page: 19 of 20



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Dated: September 12, 2023
                                  /s/ Brent Ferguson
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                                    13
USCA11 Case: 23-12313   Document: 46    Date Filed: 09/12/2023   Page: 20 of 20



                    CERTIFICATE OF SERVICE

     I hereby certify that I electronically filed the foregoing with the

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Circuit by using the appellate CM/ECF system on September 12, 2023. I

certify that all participants in the case are registered CM/ECF users and

that service will be accomplished by the appellate CM/ECF system.


Dated: September 12, 2023
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                                   14
